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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *
UNITED STATES OF AMERICA                          *
v.                                                *   CRIMINAL NO. JKB-16-0485

JOCELYN BYRD                                      *
       Defendant                                  *
        *      *       *       *      *       *       *      *       *       *          *   *
                                MEMORANDUM AND ORDER

       Together with 40 Co-Defendants, the Defendant was indicted on September 29, 2016

(ECF No.1).     She was arrested on October 5, 2016, and made her initial appearance in Court

later that day (ECF No. 76). During that proceeding attorney Anton J. S. Keating, a member of

this Court's Criminal Justice Act Felony Panel of Attorneys, was appointed to represent Ms.

Byrd, and a formal Order to that effect was docketed on October 12, 2016 (ECF No. 139).

       On or before October 7, 2016, but apparently after he was appointed in this case,

Attorney Keating posted a message on his Facebook ™ page in which he showed a picture of

Maryland's Eastern Correctional Institution, a state prison at the center of the allegations in this

case and the institution where the Defendant was evidently employed as a correctional officer.

Accompanying the picture of the prison were the following words: "back in the saddle again .... .!

need the action and the fee .... " (Attachment No. I). Attorney Keating acknowledges that he is

the author and sponsor of this posting (Attachment No.2).

       The Sixth Amendment to the United States Constitution provides that

               In all criminal prosecutions, the accused shall enjoy the right ... to
               have the assistance of counsel for his defence.
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In the Federal Courts, the "assistance" promised in the Sixth Amendment is delivered via

implementation        of the Criminal Justice Act (CJA), 18 U.S.c.             S 3006A, and local court CJA
"Plans." In the District of Maryland, following this Court's Plan, U.S. Magistrate Judges appoint

either the Federal Public Defender or a member of the Court's Criminal Justice Act Felony Panel

to represent each person charged with a serious offense who is otherwise unable to afford to hire

a lawyer on their own. Recognizing that indigent defendants do not have the right to select the

particular lawyer who will represent them, great care is taken to insure that each lawyer

appointed is not merely licensed, but is also knowledgeable and experienced in federal criminal

practice.    The Court also takes pains to insure that the lawyers it appoints are consummate

professionals, i.e., attorneys who can be counted on to put their client's interests first and before

their own.          This primary    commitment       to the interests of one's          client - this requisite

professionalism - is rooted not just in modem principles! but also in the example set by our

forebears at the bar (See David McCullough, John Adams 66-68 (2001).2

         An attorney appointed to represent an indigent criminal defendant has many important

responsibilities.      One of those is to engage in conduct that will gain and keep the client's

confidence - that will cause the client to believe that they are in good hands and that the lawyer

appointed is knowledgeable, experienced, and devoted to achieving the best possible result for

the client. Given the serious nature of the circumstances, it is highly inappropriate for a lawyer,

in reference to a case and in a semi-public setting,3 to imply, even jokingly, that he might be out



I See Maryland   Rules of Professional Conduct, Appendix 19-B: Ideals of Professionalism ("An Attorney should
aspire: (I) to put fidelity to clients before self interesl; ... (7) to preserve the dignity and the integrity of the
profession by his or her conduct...)
2 For over two decades the Federal Public Defender in Ihis district has annually presented the "John Adams Award"
to a member of this Court's Criminal Justice Act Panel who best exemplifies this commitment in his or her own
practice.   The award commemorates the founding father's selfless defense of the British soldiers accused of
perpetrating the "Boston Massacre" in 1770.
 A hearing might have been appropriate to detennine just how "private" or "public" was the communication      via the
Facebook™ post, but before the Court could consider the appropriate next steps, Mr. Keating sent an email to every

                                                          2
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of practice, or that he is in need of some stimulation in his personal or professional life that he

hopes the case will provide, or that he is involved in the case primarily for the fee it will

generate.     A client who has reason to believe that her attorney's motivations are primarily

financial, or that the lawyer hasn't recently been involved in the sort of work necessary to

prepare a successful defense in the present case, or that he just needs some "action," would have

reason to doubt the attorney's commitment to her cause, not to mention his competence.                         The

client would reasonably lack confidence in such a lawyer.

         If the Defendant has the financial resources, she is of course free to retain any member of

the bar to defend her. However, in this circumstance, where the Defendant lacks the resources to

hire an attorney on her own, and the Court is required to act on her behalf, the Court's judgment

is implicated in the choice of who is selected to serve. In light of the Facebook ™ posting, and

considering    subsequent      communications       that apparently      emanated from Mr. Keating (see

Attachment Nos. 3 and 4), the Court now lacks confidence in him. This case is at an extremely

early stage and little if any prejudice will attach in relation to a change of counsel now.

         Accordingly, the previous Order appointing Attorney Anton Keating (ECF No. 139) is

VACATED and Mr. Keating shall no longer serve as the Defendant's attorney in this case. The

Criminal Justice Act Coordinating             Attorney for the District of Maryland               is directed to

immediately nominate a different member of the Court's Criminal Justice Act Felony Panel to

represent the Defendant. 4




one of his 100 or so colleagues on the CJA Panel, and to the Court through its CJA Coordinating Attorney
(Attachment NO.3), widely publicizing his earlier post as well as expressing further observations and views the
communication of which are of doubtful assistance to his client.
4 In the earlier referenced email communication      (see note 3 supra, referring to Attachment NO.3) Mr. Keating
suggests that his personal First Amendment rights have been chilled, if not infringed, by the Court when it asked
him whether the Facebook™ post was indeed his. The Court concludes that the greater interest here is the Sixth
Amendment right of his client to be represented by a lawyer who is first and foremost devoted to her needs, with the
lawyer's interest in free and unfiltered expression subordinated to this responsibility.

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    DATED this   3' day of October, 2016.

                                            BY THE COURT:



                                            James K. Bredar
                                            United States District Judge




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